                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 NO: 3:04CR201

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
                                          )
vs.                                       )                            ORDER
                                          )
VINTAGE PHARMACEUTICALS, INC.             )
WILLIAM PROPST, SR.,                      )
WILLIAM PROPST, JR., and                  )
QUALITEST PHARMACEUTICALS, INC.,          )
            Defendants.                   )
                                          )
__________________________________________)

       THIS MATTER IS BEFORE THE COURT in preliminary response to the “Motion to

Dismiss Indictment or, in the Alternative, for an Evidentiary Hearing” (“Motion to Dismiss”)

(Document No. 45), filed December 4, 2004 by Vintage Pharmaceuticals, Inc. (“Vintage”), William

Propst, Sr. and William Propst, Jr. (collectively with Mr. Propst, Sr., the “Propsts”); the

“Government’s Opposition to Vintage’s Motion to Dismiss Indictment” (Document No. 70), filed

February 3, 2005 by the United States of America; and the “Reply Brief in Support ...” (Document

No. 79), filed March 8, 2005 by Vintage and the Propsts. On March 16, 2005, Qualitest

Pharmaceuticals, Inc. (“Qualitest”) made its initial appearance and was arraigned. At that time,

Qualitest also moved the Court to join the pending Motion to Dismiss.

       An evidentiary hearing on the Motion to Dismiss shall be held in front of the

undersigned during the week of September 6, 2005. The parties should confer as to an available

date and time for said evidentiary hearing and contact the Court as soon as practicably possible with

respect to the proposed date and time, as well as an estimated length of the evidentiary hearing.


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       The Court has carefully reviewed the written submissions of the parties regarding which

witnesses should testify at the evidentiary hearing on the motion to dismiss. Vintage, Qualitest and

the Propsts make a strong case, and the Court is inclined to agree, that the eleven witnesses they seek

may be able to provide relevant testimony during the evidentiary hearing.1 Nonetheless, the Court

questions whether the testimony of all eleven witnesses is, in fact, necessary to the adjudication of

the motion to dismiss. The United States, for its part, asserts in blanket fashion that the testimony

of all eleven witnesses should not be permitted based on privilege. Despite the United States’ urging

to the contrary, the Court cannot – at this time – draw the whole cloth conclusion that any and all

testimony offered by those witnesses in a hearing on the motion to dismiss would violate privilege.

       The Court respectfully suggests that the parties consult in order to reach partial or total

consensus regarding which witnesses are to testify and on what subjects. Failing this, the presence

of the witnesses should be sought, and in the case of the United States, sought to be prevented,

consistent with the Federal Rules of Criminal Procedure.

       IT IS SO ORDERED.




       1
         The eleven witnesses sought by Vintage, Qualitest and the Propsts are Karen Valentine,
Joseph Famulare, Barry Rothman, Frederick Blumenschein, Carl Turner, Philip Campbell, Penny
McCarver, Eric Blumberg, Jennifer Kaufman, Ballard Graham and Barbara Wood.

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                        Signed: August 4, 2005




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